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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. |: (A “IM = 03195 JG
UNITED STATES OF AMERICA
Vv.
MARLON ROYER, |

‘Defendant.
/

 

CRIMINAL COVER SHEET

1. Did this matter originate from a matter. pending in the Central Region of the.United States.
_ Attorney’s Office Prior to August’9, 2013: (Mag. Judge Alicia Valle)?) | Yes -X_No -

2. Did this matter originate.from a matter pending in the Northern Region of the United States
” Attorney’s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? __ Yes. -X_ No

Respectfully submitted,

ARIANA FAJARDO ORSHAN

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‘Eli S. Rubin
Assistant United States Attorney
99 NE. 4" Street
Miami, Florida 33132
Tel (305) 961-9247
~Fax (305) 530-7976
Email: Eli.Rubin@usdoj.gov

 
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United States District Court

 

 

SOUTHERN DISTRICT OF __ FLORIDA,
UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT

MARLON ROYER

CASE NUMBER: [: IA-m|\ - 03! 15 -IG

I, the undersigned complainant, being duly sworn, state the following is true and correct to the best of my
knowledge and belief. On or about July 27, 2019, at the Port of Miami, in Miami-Dade County, in the Southern
District of Florida, and elsewhere, the defendant, MARLON ROYER, did knowingly and intentionally import
into the United States, from a place outside thereof, a Schedule II controlled substance, that is, 500 grams or
more of a mixture and substance containing cocaine, in violation of Title 21, United States Code, Sections
952(a) and 960(b)(2); and did knowingly and intentionally possess, with the intent to distribute a Schedule Il
controlled substance, that is, 500 grams or more of a mixture and substance containing cocaine, in violation
of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B).

| further state that | am a Special Agent and that this complaint is based on the following facts: .

Customs and Border Protection (CBP) Officers boarded Carnival Conquest cruise ship to conduct routine
cabin searches at the Port of Miami upon the vessel’s arrival in the United States. The vessel arrived from
various ports including San Juan, Puerto Rico and St. Thomas Island. During a border search of ROYER’s
cabin, K-9 alerted CBP Officers to the presence of controlled substances inside a locked backpack belonging
to ROYER. ROYER provided CBP Officers with a key to the backpack, wherein CBP Officers found four (4)
vacuum-sealed bags containing a white powdery substance. A field test of the white powdery substance
proved positive for the presence of cocaine. The total estimated weight of the cocaine was approximately 4.3

kilograms.

OSTEN BERRY, SPECIAL AGENT
HOMELAND SECURITY INVESTIGATIONS
U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT

Sworn to before me, and subscribed in my presence, .

JULY 27, 2019 at Miami, Florida

 

 

 

 

Date City and State
JONATHAN GOODMAN ; a
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer Signatle Ic Judicial Officer

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